                  Case 20-10166-JTD             Doc 321        Filed 03/03/20        Page 1 of 15




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:
                                                             Chapter 11
    LUCKY’S MARKET PARENT COMPANY,
    LLC, et al.,1                                            Case No. 20-10166 (JTD)

                     Debtors.                                (Jointly Administered)

                                                             Re: Docket Nos. 13 and 51

    FINAL ORDER AUTHORIZING (I) PROCEDURES FOR STORE CLOSING SALES,
      AND (II) ASSUMPTION OF THE LIQUIDATION CONSULTING AGREEMENT

             Upon the motion (the “Motion”)2 of Lucky’s Market Parent Company, LLC and its

affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession

(collectively, the “Debtors”), pursuant to sections 105(a), 363, 365, and 554 of title 11 of the

United States Code (the “Bankruptcy Code”), Rules 6003, 6004, 6006, and 9014 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 9013-1 of the Local Rules

of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware for entry of an order (this “Final Order”) authorizing, but not directing, the Debtors to

implement the Store Closing Procedures and conduct or continue conducting liquidation sales (the

Store Closing Sales”) at the Stores, as applicable, and assume the Liquidation Consulting



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Lucky’s Market Parent Company, LLC (2055), Lucky’s Farmers Market Holding Company, LLC (5480),
Lucky’s Market Operating Company, LLC (7064), LFM Stores LLC (3114), Lucky’s Farmers Market, LP (0828),
Lucky’s Farmers Market Resource Center, LLC (7711), Lucky’s Market Holding Company 2, LLC (0607), Lucky’s
Market GP 2, LLC (9335), Lucky’s Market 2, LP (8384), Lucky’s Market of Longmont, LLC (9789), Lucky’s Farmers
Market of Billings, LLC (8088), Lucky’s Farmers Markets of Columbus, LLC (3379), Lucky’s Farmers Market of
Rock Hill, LLC (3386), LFM Jackson, LLC (8300), Lucky’s Farmers Market of Ann Arbor, LLC (4067), Lucky’s
Market of Gainesville, LLC (7877), Lucky’s Market of Bloomington, LLC (3944), Lucky’s Market of Plantation,
LLC (4356), Lucky’s Market of Savannah, GA, LLC (1097), Lucky’s Market of Traverse, City, LLC (2033), Lucky’s
Market of Naples, FL, LLC (8700), and Sinoc, Inc. (0723).
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



72440416.1
              Case 20-10166-JTD          Doc 321       Filed 03/03/20     Page 2 of 15




Agreement and granting related relief, all as more fully set forth in the Motion; and the Court

having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012; and consideration of the Motion and

the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

Motion and the Interim Order (defined below) having been provided to the Notice Parties; and

such notice having been adequate and appropriate under the circumstances, and it appearing that

no other or further notice need be provided; and the Court having reviewed the Motion; and the

Court having held a hearing on January 28, 2020 (the “Interim Hearing”); and the Court having

entered an order granting the relief requested in the Motion on an interim basis [Docket No. 51]

(the “Interim Order”); and the Court having held a hearing to consider the relief requested in the

Motion on a final basis (the “Final Hearing”); and upon the First Day Declaration [Docket No.

47], and the record of the Interim Hearing and the Final Hearing; and the Court having determined

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and it appearing that the relief requested in the Motion is necessary to avoid immediate and

irreparable harm to the Debtors and their estates as contemplated by Bankruptcy Rule 6003, and

is in the best interests of the Debtors, their estates, creditors, and all parties in interest; and upon

all of the proceedings had before the Court and after due deliberation and sufficient cause

appearing therefor,

         IT IS HEREBY ORDERED THAT

         1.     The Motion is granted on a final basis to the extent set forth herein.




                                                   2
72440416.1
              Case 20-10166-JTD        Doc 321      Filed 03/03/20    Page 3 of 15




         2.    The Debtors are authorized, but not directed, to conduct or continue conducting

Store Closing Sales, as applicable, at the Closing Stores and the Sold Stores pursuant to the store

closing sale procedures attached hereto as Exhibit 1 (the “Store Closing Procedures”), which

Store Closing Procedures are hereby incorporated by reference and approved in their entirety on a

final basis; provided that the Debtors and landlords of any Store are authorized to enter into an

agreement modifying the Store Closing Procedures with the consent of the Prepetition Secured

Lender without further order of the Court (each, a “Landlord Agreement”); provided, further that

any such Landlord Agreements shall not have a material adverse effect on the Debtors or their

estates. To the extent there is any inconsistency between the Store Closing Procedures, the

Liquidation Consulting Agreement, and this Final Order on the one hand, and a Landlord

Agreement on the other hand, the terms of the Landlord Agreement shall control.

         3.    The Debtors may continue conducting Store Closing Sales pursuant to the Store

Closing Procedures at the Closing Stores and Sold Stores. The Debtors may conduct Store Closing

Sales in accordance with the terms of this Final Order at any stores that the Debtors continue to

operate (the “Operating Stores”, and together with the Sold Stores and the Closing Stores, the

“Stores”) and, after consulting with the Prepetition Secured Lender, subsequently classify as

Closing Stores by filing and serving by email or overnight mail the Notice Parties and any affected

counterparty at an affected location with (a) notice of intent to conduct a Store Closing Sale

pursuant to this Final Order (the “Notice of Intent”) and (b) a copy of this Final Order (which may

be provided electronically via website link). The Notice Parties or affected parties will have five

(5) business days from the filing and service of the Notice of Intent to object to the terms of the

Store Closing Procedures and request a hearing on the objection. If no objection is filed, the

Debtors may conduct Store Closing Sales at such locations, or if an objection is filed, the Debtors



                                                3
72440416.1
              Case 20-10166-JTD          Doc 321      Filed 03/03/20     Page 4 of 15




may conduct Store Closing Sales at any locations not subject to such objection, in accordance with

the terms of this Final Order, and such stores shall be considered “Closing Stores” for purposes of

this Final Order and the Store Closing Procedures.

         4.    The Store Closing Procedures shall apply to all sales of Store Closing Assets at the

Stores. To the extent that there is any inconsistency between the Store Closing Procedures and the

Liquidation Consulting Agreement on the one hand, and this Final Order, on the other hand, this

Final Order shall control, and the Store Closing Procedures shall control to the extent there is any

inconsistency between such procedures and the Liquidation Consulting Agreement.

         5.    The Debtors and the Liquidation Consultant are authorized, but not directed, to

transfer the Store Closing Assets among the Closing Stores as well as among the Debtors’ stores

which are not Closing Stores. The Debtors and the Liquidation Consultant are authorized to sell

or abandon the De Minimis Assets (including any such assets that are Store Closing Assets);

provided, that to the extent any such assets remain at the Closing Store after the completion of the

applicable Store Closing Sales therein or the effective date of rejection of the underlying lease,

such assets shall be deemed abandoned with the right of the landlord (or its designee) to dispose

of such property free and clear of all interests and without notice or liability to any party.

         6.    Pursuant to section 363(f) of the Bankruptcy Code, the Store Closing Assets being

sold shall be sold free and clear of any and all mortgages, security interests, conditional sales or

title retention agreements, pledges, hypothecations, liens, judgments, encumbrances or claims of

any kind or nature (including, without limitation, any and all “claims” as defined in section 101(5)

of the Bankruptcy Code) (collectively, the “Liens and Claims”), with such Liens and Claims, if

any, to attach to the proceeds of such assets with the same validity and enforceability, to the same




                                                  4
72440416.1
              Case 20-10166-JTD         Doc 321       Filed 03/03/20    Page 5 of 15




extent, subject to the same defenses, and with the same amount and priority as they attached to

such assets immediately before the closing of the applicable sale.

         7.    No entity, including utilities, landlords, creditors and all persons acting for or on

their behalf (but not Governmental Units (as defined in section 101(27) of the Bankruptcy Code))

shall interfere with or otherwise impede the conduct of the Store Closing Sales, or institute any

action against the Debtors or landlords in any court (other than in this Court) or before any

administrative body which in any way directly or indirectly interferes with, obstructs, or otherwise

impedes the conduct of the Store Closing Sales; provided that the Store Closing Sales are

conducted in accordance with the terms of this Final Order, the Store Closing Procedures, and any

Landlord Agreement.

         8.    Any restrictions in any lease agreement, restrictive covenant, or similar documents

purporting to limit, condition, or impair the Debtors’ ability to conduct the Store Closing Sales

shall not be enforceable, nor shall any breach of such provisions in these chapter 11 cases constitute

a default under a lease or provide a basis to terminate the lease; provided, that the Store Closing

Sales are conducted in accordance with the terms of this Final Order, the Store Closing Procedures,

and any applicable Landlord Agreement.

         9.    The Closing Stores may “go-dark” during the Store Closing Sales and remain

“dark” despite any lease restriction, real estate local act, local law, or ordinance to the contrary,

and any “continuous operation” or similar clause in any of the leases (or any lease provision that

purports to increase the rent or impose any penalty for “going dark”) may not be enforced (and the

“going dark” under such leases shall not be a basis to cancel or terminate the leases), provided that

any applicable landlord, at the conclusion of the Store Closing Sales, shall be allowed to enter the

applicable Store to dress any windows to minimize the appearance of a dark store.



                                                  5
72440416.1
               Case 20-10166-JTD         Doc 321      Filed 03/03/20     Page 6 of 15




         10.    Nothing in this Final Order, the Store Closing Procedures or the Liquidation

Consulting Agreement releases, nullifies, or enjoins the enforcement of any liability to a

Governmental Unit under environmental laws or regulations (or any associated liabilities for

penalties, damages, cost recovery, or injunctive relief) to which any entity would be subject as the

owner, lessor, lessee, or operator of the property after the date of entry of this Final Order. Nothing

contained in this Final Order or in the Liquidation Consulting Agreement shall in any way (a)

diminish the obligation of any entity to comply with environmental laws, or (b) diminish the

obligations of the Debtors to comply with environmental laws consistent with its rights and

obligations as debtors in possession under the Bankruptcy Code. The Store Closing Sales shall not

be exempt from laws of general applicability, including, without limitation, public health and

safety, criminal, tax, labor, employment, environmental, antitrust, fair competition, traffic and

consumer protection laws, including consumer laws regulating deceptive practices and false

advertising (collectively, “General Laws”). Nothing in this Final Order shall alter or affect

obligations to comply with all applicable federal safety laws and regulations. Nothing in this Final

Order shall be deemed to bar any Governmental Unit from enforcing General Laws in the

applicable non-bankruptcy forum, subject to the Debtors’ right to assert in that forum or before

this Court that any such laws are not in fact General Laws or that such enforcement is

impermissible under the Bankruptcy Code, this Final Order, or otherwise. Notwithstanding any

other provision in this Final Order, no party waives any rights to argue any position with respect

to whether the conduct was in compliance with this Final Order and/or any applicable law, or that

enforcement of such applicable law is preempted by the Bankruptcy Code. Nothing in this Final

Order shall be deemed to have made any rulings on any such issues.




                                                  6
72440416.1
               Case 20-10166-JTD        Doc 321       Filed 03/03/20    Page 7 of 15




         11.    To the extent that the Store Closing Sales are subject to any federal, state or local

statute, ordinance, or rule, or licensing requirement solely directed at regulating “going out of

business,” “store closing,” similar inventory liquidation sales, or bulk sale laws, including laws

restricting safe, professional and non-deceptive, customary advertising such as signs, banners,

posting of signage, and use of sign-walkers solely in connection with the Store Closing Sales and

including ordinances establishing license or permit requirements, waiting periods, time limits or

bulk sale restrictions, or any fast pay laws, that would otherwise apply solely to store closing or

liquidation sales (each a “Liquidation Sale Law” and together, the “Liquidation Sale Laws”),

the following provisions shall apply:

                a)     If the Store Closing Sales are conducted in accordance with the terms of this
                       Final Order, the Store Closing Procedures and any applicable Landlord
                       Agreement, and in light of the provisions in the laws of many local and state
                       laws that exempt court-ordered sales from their provisions, then the Debtors
                       shall be presumed to be in compliance or otherwise excused from
                       compliance with any Liquidation Sale Laws, and are authorized to conduct
                       the Store Closing Sales in accordance with the terms of this Final Order
                       without the necessity of compliance with any such Liquidation Sale Laws.

                b)     The Debtors shall be presumed to be in compliance with any applicable
                       “fast pay” laws to the extent such payroll payments are made by the later of
                       (i) the Debtors’ next regularly scheduled payroll and (ii) seven (7) calendar
                       days following the termination date of the relevant employee, and in all such
                       cases consistent with, and subject to, any previous orders of this Court
                       regarding payment of same.

                c)     To the extent there is a dispute arising from or relating to the Store Closing
                       Sales, this Final Order, the Liquidation Consulting Agreement, or the Store
                       Closing Procedures, which dispute relates to any Liquidation Sale Laws (a
                       “Reserved Dispute”), the Court shall retain exclusive jurisdiction to
                       resolve the Reserved Dispute. Any time within ten (10) days following entry
                       of a final order approving the Store Closing Procedures, any Governmental
                       Unit may assert that a Reserved Dispute exists by serving written notice of
                       such Reserved Dispute to counsel for the Debtors so as to ensure delivery
                       thereof within one (1) business day thereafter. Debtors shall notify
                       applicable landlords of any Reserved Dispute. If the Debtors and the
                       Governmental Unit are unable to resolve the Reserved Dispute within
                       fifteen (15) days after service of the notice, the aggrieved party may file a


                                                  7
72440416.1
               Case 20-10166-JTD        Doc 321       Filed 03/03/20    Page 8 of 15




                       motion with this Court requesting that this Court resolve the Reserved
                       Dispute (a “Dispute Resolution Motion”).

                d)     In the event a Dispute Resolution Motion is filed, nothing in this Final Order
                       shall preclude the Debtors, a Landlord, or other interested party from
                       asserting (i) that the provisions of any Liquidation Sale Laws are preempted
                       by the Bankruptcy Code, or (ii) that neither the terms of this Final Order nor
                       the conduct of the Debtors pursuant to this Final Order, violates such
                       Liquidation Sale Laws. Filing a Dispute Resolution Motion as set forth
                       herein shall not be deemed to affect the finality of any Order or to limit or
                       interfere with the Debtors’ or the Liquidation Consultant’s ability to
                       conduct or to continue to conduct the Store Closing Sales pursuant to this
                       Final Order, absent further order of this Court. The Court grants authority
                       for the Debtors and the Liquidation Consultant to conduct the Store Closing
                       Sales pursuant to the terms of this Final Order and/or the Store Closing
                       Procedures and to take all actions reasonably related thereto or arising in
                       connection therewith. The Governmental Unit shall be entitled to assert any
                       jurisdictional, procedural, or substantive arguments it wishes with respect
                       to the requirements of its Liquidation Sale Laws or the lack of any
                       preemption of such Liquidation Sale Laws by the Bankruptcy Code.
                       Nothing in this Final Order shall constitute a ruling with respect to any
                       issues to be raised in any Dispute Resolution Motion.

                e)     If, at any time, a dispute arises between the Debtors and/or the Liquidation
                       Consultant and a Governmental Unit as to whether a particular law is a
                       Liquidation Sale Law, and subject to any provisions contained in this Final
                       Order related to the Liquidation Sale Laws, then any party to that dispute
                       may utilize the provisions of subparagraphs (c) and (d) hereunder by serving
                       a notice to the other party and proceeding thereunder in accordance with
                       those paragraphs. Any determination with respect to whether a particular
                       law is a Liquidation Sale Law shall be made de novo.

         12.    The Debtors shall be entitled to use sign walkers, hang signs, or interior or exterior

banners advertising the Store Closing Sales in accordance with the Store Closing Procedures and

any applicable Landlord Agreement, without further consent of any person. If the use of banners

and sign walkers is done in a safe and responsible manner, then such sign walkers and banners, in

and of themselves, shall not be deemed to be in violation of General Laws.

         13.    Subject to paragraphs 11 and 12 above, each and every federal, state, or local

agency, departmental or governmental unit with regulatory authority over the Store Closing Sales



                                                  8
72440416.1
               Case 20-10166-JTD        Doc 321        Filed 03/03/20   Page 9 of 15




and all landlords and all newspapers and other advertising media in which the Store Closing Sales

are advertised shall consider this Final Order as binding authority to conduct and advertise the

Store Closing Sales in accordance with this Final Order.

         14.    State and local authorities shall not fine, assess, or otherwise penalize the Debtors

or any of the landlords of the Stores for conducting or advertising the Store Closing Sales in a

manner inconsistent with state or local law; provided, that the Store Closing Sales are conducted

and advertised in a manner contemplated by this Final Order.

         15.    Nothing in this Final Order in any way limits the Debtors’ ability to (a) seek

assumption, assignment, or rejection of the Stores’ leases, (b) determine that additional stores

should be closed and Store Closing Sales or the like be conducted in advance thereof, and (c)

abandon assets in connection with Store Closing Sales, lease rejections, or otherwise, and the

Debtors’ rights are fully reserved in these regards.

         16.    All of the Store Closing Sales shall be “as is” and final. However, as to the Stores,

all state and federal laws relating to implied warranties for latent defects shall be complied with

and are not superseded by the sale of such goods or the use of the terms “as is” or “final sales.” As

to the Stores, the Debtors shall accept return of any goods purchased during the Store Closing

Sales that contain a defect which the lay consumer could not reasonably determine was defective

by visual inspection prior to purchase for a full refund; provided that the consumer must return the

merchandise within seven (7) days of purchase, the consumer must provide a receipt, and the

asserted defect must in fact be a “latent” defect. Returns, if permitted, related to the purchase of

Store Closing Assets shall not be accepted at stores that are not participating in the Store Closing

Sales.




                                                  9
72440416.1
               Case 20-10166-JTD         Doc 321      Filed 03/03/20    Page 10 of 15




         17.    To the extent that the Debtors propose to sell or abandon any De Minimis Assets

which may contain personal and/or confidential information about the Debtors’ employees and/or

customers (the “Confidential Information”), the Debtors shall remove the Confidential

Information from such De Minimis Assets before such sale or abandonment.

         18.    The Debtors are directed to remit all taxes arising from the Store Closing Sales to

the applicable Governmental Units as and when due, provided that in the case of a bona fide dispute

the Debtors are only directed to pay such taxes upon the resolution of the dispute, if and to the

extent that the dispute is decided in favor of the applicable Governmental Unit. For the avoidance

of doubt, sales taxes collected and held in trust by the Debtors shall not be used to pay any creditor

or any other party, other than the applicable Governmental Unit for which the sales taxes are

collected. This Final Order does not enjoin, suspend, or restrain the assessment, levy, or collection

of any tax under state law, and does not constitute a declaratory judgment with respect to any

party’s liability for taxes under state law.

         19.    With respect to any De Minimis Assets (including any such assets that are Store

Closing Assets) abandoned at one of the Debtors’ leased properties, the applicable landlord or

other designee shall be free to dispose of such property without liability to any party and without

further notice or order of the Court.

         20.    The Debtors are authorized to pay those reasonable and necessary fees and

expenses incurred in the sale, transfer, or abandonment of the De Minimis Assets, including

reasonable commission fees to agents, brokers, auctioneers, and liquidators, if any.

         21.    The Liquidation Consulting Agreement, a copy of which is attached hereto as

Exhibit 2, is operative and effective on a final basis. The Debtors are authorized to continue to act




                                                 10
72440416.1
               Case 20-10166-JTD       Doc 321       Filed 03/03/20   Page 11 of 15




and perform in accordance with the terms of the Liquidation Consulting Agreement, including to

make all payments to the Liquidation Consultant as and when due.

         22.     All amounts payable to the Liquidation Consultant under the Liquidation

Consulting Agreement on account of fees earned or reimbursable expenses incurred between the

Petition Date and the date that a final order on the Motion is entered shall be payable to the

Liquidation Consultant without any further order of the Court provided that Great American shall

provide invoices to the Debtors, any official committee appointed in these chapter 11 cases, and

the Prepetition Secured Lender when such compensation becomes due and owing. Such parties

shall have five (5) business days to dispute any such invoice, which dispute shall be decided by

the Court unless resolved by the parties.

         23.    Subject to the terms of this Final Order and the proposed Store Closing Procedures,

the Debtors and the Liquidation Consultant are hereby authorized to take any and all actions as

may be necessary or desirable to implement the Liquidation Consulting Agreement and all other

actions authorized by this Final Order, and any actions taken by the Debtors and the Liquidation

Consultant necessary or desirable to implement the Liquidation Consulting Agreement or the Store

Closing Sales prior to the date of this Final Order, are hereby approved and ratified.

         24.    On a confidential basis and upon the written request (including email) of the

Prepetition Secured Lender, the U.S. Trustee, and any official committee appointed in these

Chapter 11 Cases, the Debtors shall provide such party with copies of periodic reports concerning

the Store Closing Sales that are prepared by the Debtors, their professionals, or the Liquidation

Consultant; provided that the foregoing shall not require the Debtors, their professionals, or the

Liquidation Consultant to prepare or undertake to prepare any additional or new reporting not




                                                11
72440416.1
               Case 20-10166-JTD         Doc 321       Filed 03/03/20    Page 12 of 15




otherwise being prepared by the Debtors, their professionals, or the Liquidation Consultant in

connection with the Store Closing Sales.

         25.    Notwithstanding the relief granted in this Final Order, any payment made by the

Debtors pursuant to the authority granted herein shall be subject to and in compliance with the

applicable budget and the Debtors’ authorization to use cash collateral.

         26.     ATA Forum Objection. ATA Forum Louisville KY, LLC (“ATA Forum”) filed

a timely objection [Docket No. 216] (the “ATA Forum Objection”) with respect to the Motion

and the Interim Order. ATA Forum, as landlord, and Debtor Lucky’s Farmers Market of

Louisville, LLC (“Louisville Debtor”), as tenant, are parties to a Shopping Center Lease dated as

of July 30, 2013 (the “Louisville Lease”), pursuant to which ATA Forum leased to Louisville

Debtor certain retail space in Louisville, Kentucky (the “Subject Leased Premises”). As stated in

the ATA Forum Objection, ATA Forum asserts, among other things, that the Debtors and/or the

Liquidation Consultant have (i) improperly removed from the Subject Leased Premises fixtures

and other property which are owned by ATA Forum, and (ii) caused significant damage to the

Subject Leased Premises in the process of removal. The Debtors dispute ATA Forum’s

contentions. To resolve the ATA Forum Objection as it relates to the entry of this Final Order, the

Debtors and ATA Forum have stipulated and agreed to the provisions of this Paragraph, and such

provisions are hereby approved and shall be binding and enforceable.

         a.     Notwithstanding anything to the contrary in the Motion, the Interim Order, this

         Final Order, the Store Closing Procedures or the Liquidation Consulting Agreement, all of

         ATA Forum's administrative claims, other claims, rights and interests in and relating to the

         following are fully reserved and not limited or otherwise affected: (i) all fixtures and other

         property that were located at, or removed from, the Subject Leased Premises (and all



                                                  12
72440416.1
               Case 20-10166-JTD        Doc 321        Filed 03/03/20   Page 13 of 15




         proceeds therefrom), including, without limitation, all claims relating to ownership or other

         rights in such property, and (ii) the removal of such property from the Subject Leased

         Premises and/or the damage to the Subject Leased Premises caused by representatives of

         the Debtors or the Liquidation Consultant.

         b.     Notwithstanding anything to the contrary in the Motion, the Interim Order, this

         Final Order, the Store Closing Procedures, or the Liquidation Consulting Agreement, the

         Parties agree that the Debtors and the Liquidation Consultant fully reserve all rights,

         objections, and challenges to any claim asserted by ATA Forum, including causes of action

         and counterclaims for damage to the Subject Leased Premises caused by representatives of

         ATA Forum.

         27.     Comcast. Notwithstanding anything to the contrary in this Final Order, the Debtors

and the Liquidation Consultant are not authorized to, and shall not, sell the modems, ACA

equipment (an electronic device used in the provision of voice over internet phone services),

telephones, and any other equipment provided by Comcast Cable Communications Management,

LLC and its affiliates (collectively, “Comcast”) but excluding any inside wiring located in the

Debtors’ leased premises and headquarters (the “Comcast Equipment”). Further, notwithstanding

anything to the contrary contained in this Order, the Debtors or the Liquidation Consultant shall

inform Comcast via email sent to Comcast’s counsel at summersm@ballardspahr.com and

Comcast at Daniel_Carr2@comcast.com with respect to any dark location in which Comcast

Equipment is located within five (5) business days of entry of this Final Order of a proposed date

and time, which date and time shall be prior to surrender of the leased premises to the applicable

landlord or turnover of such premises to any assignee of the lease for the leased premises, at which

time Comcast may retrieve the Comcast Equipment. With respect to the Debtors’ headquarters,



                                                  13
72440416.1
               Case 20-10166-JTD       Doc 321       Filed 03/03/20   Page 14 of 15




Debtors or the Liquidation Consultant shall inform Comcast via email sent to Comcast’s counsel

at summersm@ballardspahr.com and Comcast at Daniel_Carr2@comcast.com at least five (5)

business days prior to the earlier of the date on which the Debtors intend to cease operations or

surrender possession of the Debtors’ headquarters of a proposed date and time, which date and

time shall be prior to surrender of the Debtors’ headquarters to the applicable landlord or turnover

of such premises to any assignee of the lease for the Debtors’ headquarters, at which time Comcast

may retrieve the Comcast Equipment. The Debtors shall cooperate with Comcast to allow Comcast

to retrieve the Comcast Equipment at the designated time or such other time as Comcast and the

Debtors or Consultant may agree. To the extent applicable, the automatic stay is hereby modified

pursuant to section 362(d)(1) to permit Comcast to take the actions permitted and implement the

relief granted in this paragraph. Nothing herein shall alter, amend, modify, or waive Comcast’s

rights and remedies under the MSA, including the SOWs (as those terms are defined in Comcast’s

Limited Objection to the Motion) or applicable law, all of which rights are expressly preserved.

         28.    The requirements of Bankruptcy Rule 6003(b) have been satisfied.

         29.    Under the circumstances of these chapter 11 cases, notice of the Motion is adequate

under Bankruptcy Rule 6004(a).

         30.    Notwithstanding Bankruptcy Rule 6004(h), this Final Order shall be immediately

effective and enforceable upon its entry.

         31.    The Debtors shall serve this Final Order within two (2) business days of its entry

on the Notice Parties.

         32.    The Debtors are authorized to take all actions necessary to implement the relief

granted in this Final Order.




                                                14
72440416.1
               Case 20-10166-JTD       Doc 321        Filed 03/03/20   Page 15 of 15




         33.    The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Final Order.




                                                           JOHN T. DORSEY
         Dated: March 3rd, 2020                            UNITED STATES BANKRUPTCY JUDGE
         Wilmington, Delaware

                                                 15
72440416.1
